Case 1:23-cv-09090-VEC Document7 Filed 11/13/23. Pagelof1

14.8%
AFFIDAVIT OF SERVICE
UNITED STATES DISTRICT COURT Client’s File No.:
SOUTHERN DISTRICT OF NEW YORK Index Number: 1:23-CV-09090-VEC
THE MARKS LAW FIRM, P.C. 155 EAST 55TH STREET NEW YORK, NY 10022 Date Filed: October 17, 2023
CLAUDIO DAREZZO
Plaintiff
vs
RECREATIONAL PLUS LEV INC. AND 84 HOYT LLC
Defendant

STATE OF NEW YORK, COUNTY OF New York SS:
SECRETARY OF STATE

Steve Avery, being duly sworn, deposes and says: that deponent is not a party to this action,
is over 18 years of age and resides in the State of New York.

That on 11/2/2023 at 9:00 AM at 1 Commerce Plaza, Albany, New York 12260 the office of the Secretary Of State, of the
State of New York, deponent served 2 true copies of a Summons in a Civil Action and Complaint

on 84 HOYT LLC
(Defendant/Respondent)

Said service was effected in the following manner;

By delivering to an leaving with NANCY DOUGHERTY authorized agent in the office of the Secretary of the State, State of
New York, personally at the office of the Secretary of State, of the State of New York, two (2) true copies thereof and at that
time of making such service, deponent paid said Secretary of State a fee of $40.00.

That said service was made pursuant to 303 Limited Liability Company Law

Description:
Gender: Female Race/Skin: White Age: 60 Weight: 100-130 Lbs. Height: 5ft0in-5ft3in Hair:

Black _Glasses:No Other:

fo
/
f

Sworn to before mg/on November 7, 2023 fo —~

/ Lh) ft

ao LO J “v
Hh x Steve Avery

New York
No. 01ML6317724 Server Lic #
Qualified if Nassau County Job# 2361214
My Commission Expires April 16, 2027 Cust. Filed

INTER COUNTY JUDICIAL SERVICES, LLC, 6851 JERICHO TURNPIKE, SUITE 180, SYOSSET, NY 11791 LICENSE # 1371771
UNITED PROCESS SERVICE
